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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                Plaintiff,

         v.                                                    Criminal Action No. 3:13-cr-23-06

  ADAM NICHOLAS BRADY,

                Defendant.


   REPORT AND RECOMMENDATION THAT DEFENDANT’S MOTION TO SUPPRESS
       A SUGGESTIVE PHOTOGRAPHIC IDENTIFICAITON [136] BE DENIED


                                    I. INTRODUCTION

         This matter comes before the Court on Defendant Adam Nicholas Brady’s Motion to

  Suppress a Suggestive Photographic Identification. (Def.’s Motion, Sept. 18, 2013, ECF No.

  136). On October 4, 2013, the United States of America (hereinafter, “the Government”) filed

  its response to Defendant’s Motion. (Response, Oct. 4, 2013, ECF No. 152). On October 8,

  2013, the Court held an evidentiary hearing and argument on Defendant’s Motion. Defendant

  appeared in person and by counsel, William Francis Xavier Becker, Esquire. The Government

  was present by Paul T. Camilletti, Assistant United States Attorney, appearing on behalf of

  Assistant United States Attorney Stephen L. Vogrin. At the hearing, the Government presented

  the testimony of Sergeant Matthew Zollinger with the Martinsburg City Police Department who

  is currently assigned to the Eastern Panhandle Drug and Violent Crime Task Force. The Court

  also admitted Exhibit One submitted by the Government, which is the piece of paper containing

  the single photograph of Defendant that was shown to the confidential informant for the purposes

  of identification. No additional testimony or other evidence was presented.

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     A. Background
         Defendant, Adam Nicholas Brady, is one of nine defendants in a fifty-one (51) count

  Indictment, plus forfeiture allegation, relating to the distribution of cocaine base in or near

  Martinsburg, West Virginia. (Indictment, ECF No. 1). Defendant is named in Count One (1) of

  the Indictment, which charges all nine (9) defendants with conspiracy to distribute twenty-eight

  (28) grams or more of cocaine base, also known as crack, from approximately July 16, 2009 to

  January 17, 2013 in or near Martinsburg, West Virginia. (Id.). Count Thirty-Seven (37) charges

  Defendant with the use of a telephone to facilitate the distribution of crack cocaine on January

  18, 2011. (Id.). Count Thirty-Eight (38) charges Defendant and co-defendant, Trey Cardale

  Campbell, with aiding and abetting each other to distribute 0.79 grams of crack cocaine within

  1,000 feet of a protected location, specifically, Burke Street Elementary School in Martinsburg,

  West Virginia, on January 18, 2011. (Id.). Count Forty (40) charges Defendant along with two

  co-defendants, Ashley Lucille Dixson and David Lee Ferguson, with aiding and abetting each

  other in the distribution of 0.16 grams of cocaine base within 1,000 feet of Burke Street

  Elementary School on January 20, 2011. (Id.).

     B. The Motion
         Motion to Suppress a Suggestive Photographic Identification (ECF No. 136).

     C. Recommendation
         I recommend that Defendant’s Motion to Suppress a Suggestive Photographic

  Identification (ECF No. 136) be DENIED because even though the use of a single photograph

  was unduly suggestive, a subsequent identification by Confidential Informant – Pony (hereinafter

  “CI-Pony”) would be sufficiently reliable based on the totality of the circumstances.




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                                             II. FACTS

         During the course of a 2011 investigation into drug distribution in Martinsburg, West

  Virginia, officers conducted a series of controlled purchases using a confidential informant

  known as CI-Pony. (Hr’g Tr. 14, Oct. 8, 2013, ECF No. 212). CI-Pony had worked with

  investigators by making “buys” for approximately one or two months. (Id. at 19). He mentioned

  to officers that he could purchase drugs from an individual he knew as “Bradley.” (Id. at 14).

  CI-Pony stated he had known Bradley for several months based on seeing him around the

  neighborhood. (Id.). CI-Pony had Bradley’s phone number and made a controlled call to

  arrange a meeting to purchase crack cocaine. (Id. at 15). The controlled purchase was surveyed

  using both audio and visual equipment as well as officers on the ground. (Id.). Officers saw

  Defendant and co-defendant, Trey Campbell, meeting with CI-pony outside of the residence.

  (Id.). The three individuals entered the residence and a drug deal was accomplished. (Id.).

  Officers then reported seeing Defendant leave the residence. (Id.).

         A few days after the controlled purchase, investigating officers showed CI-Pony a

  photograph of Defendant in order to verify that the suspect the confidential information referred

  to as “Bradley” and the individual he made the controlled purchase from was in fact Defendant.

  (Id. at 16). At the hearing, Sgt. Zollinger stated that he did not remember the exact day CI-Pony

  viewed the photograph and could not remember the exact location CI-Pony was shown the

  photograph. (Id. at 20-21). Sgt. Zollinger indicated that CI-Pony was most likely shown the

  photograph while in the field, perhaps in his automobile. (Id. at 20). Sgt. Zollinger did not

  believe that the identification occurred at CI-Pony’s residence or the police station. (Id.). He did

  not remember the time of day CI-Pony was shown the photograph but stated it could have been

  at night. (Id.). Sgt. Zollinger testified that he did not have any particular notes or instructions



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  given to CI-Pony before he made the identification and he did not recall if anyone else was

  present when the identification was made. (Id. at 21).

         According to Sgt. Zollinger’s testimony at the hearing, the photograph shown to CI-Pony

  was a jail photograph that measured approximately two by two inches (i.e., approximately the

  size of a passport photo). (Id. at 22; Exhibit 1, ECF No. 195-1). The photograph is printed on a

  letter sized piece of paper titled “Person History Report.” (Exhibit 1, ECF No. 195-1). The top

  of the document includes the text “Martinsburg Police Department” along with the Department’s

  address and phone number. (Id.). Defendant’s full name appears in capital letters directly above

  Defendant’s photograph on the piece of paper. (Id.).

          Sgt. Zollinger testified that this piece of paper containing the photograph was shown to

  CI-Pony in order to “make sure it was the same subject that he knew as Bradley.” (Hr’g Tr. 16).

  In other words, Sgt. Zollinger stated that the purpose of showing CI-Pony the photograph was to

  verify the name of the participant involved in the controlled purchase on January 18, 2011. (Id.

  at 25). Sgt. Zollinger testified that he was familiar with Defendant from approximately a year

  prior and knew that Defendant frequently accompanied Mr. Campbell, the second individual who

  was positively identified by officers during the January 18, 2011 controlled purchase. (Id. at 16,

  24-25, 28, 29-30). The investigating officers suspected that Defendant was in fact the same

  person that CI-Pony referred to as “Bradley” because Defendant was always known to be with

  Mr. Campbell, Defendant matched the description given by CI-Pony and due to the similarity

  between the names “Bradley” and “Brady.” (Id.).

           III. MOTION TO SUPPRESS PHOTOGRAPHIC IDENTIFICATION

     A. Contentions of the Parties
         Defendant contends that due to an impermissible and suggestive photographic

  identification by CI-Pony that any subsequent in-court identification is “tainted and improperly

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  suggestive” and must be suppressed. (Def.’s Motion at 2, ECF No. 136). Defendant explains

  that the use of a single photograph indicates to the identifying witness that this lone individual in

  the photograph is in fact the subject of the investigation. (Id.). The presentation of the single

  photograph stands in stark contrast to the objective, fair and proper use of a “photographic array”

  containing multiple individuals. (Id.). By showing the witness just one photograph, the witness

  is not able to properly exclude individuals or independently confirm the identity of the alleged

  participant. (Id.).

          Defendant argues that the risk of impermissible identification increases when a witness is

  only shown a single picture. (Id.) (citing Kimbrough v. Cox, 444 F.2d 8, 10 (4th Cir. 1971)).

  The use of one picture is “inherently suggestive” to the witness in violation of due process,

  which prohibits the use of an out-of-court identification obtained through procedures that have a

  substantial likelihood of resulting in an “irreparable misidentification.” (Id.) (citing Simmons v.

  United States, 390 U.S. 377, 384, 88 S. Ct. 967 (1968); United States v. Saunders, 501 F.3d 384,

  389 (4th Cir. 2007)). Based on this improper identification of Defendant using the single

  photograph, he asserts that the jury should not hear “eyewitness” testimony related to the

  identification because it lacks reliability. (Id.). Therefore, Defendant argues that the

  identification procedure using the single photograph should be deemed impermissible and any

  resulting identifications attributed to the witness shown the single photograph should be

  suppressed. (Id. at 2-3).

          The Government contends that the use of a single photo or a crime scene “show up” is

  not in and of itself “impermissibly suggestive” and does not make the identification “manifestly

  suspect.” (Response at 3, ECF No. 152). The Government contends that any subsequent

  identification by CI-Pony would be sufficiently reliable under the totality of the circumstances



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  because the identification was based on CI-Pony’s previous interactions with Defendant. (Id. at

  4). The Government explains that CI-Pony was asked to identify a person whom he had known

  for an extended period of time, not an unknown individual or stranger. (Id.). CI-Pony was also

  shown the photograph shortly after he conducted a controlled purchase with Defendant. (Id.).

  Because CI-Pony was familiar with Defendant and had dealings with Defendant prior to seeing

  the photograph, this prior exposure serves as an independent basis for identification. (Id. at 4).

  The Government contends that the photograph corroborated CI-Pony’s identification of

  Defendant and was not unduly suggestive as to taint the ability of the confidential information to

  subsequently identify Defendant. (Id.).

     B. Discussion
         The defendant bears the burden of proof when challenging the admissibility of

  identification testimony. See United States v. Johnson, 114 F.3d 435, 441 (4th Cir. 1997) (citing

  United States v. Wade, 388 U.S. 218 (1967)). The determination of whether identification

  testimony is admissible is made on a case by case basis. See Simmons v. United States, 390 U.S.

  377, 384 (1968). “[C]onvictions based on eyewitness identification at trial following a pretrial

  identification by photograph will be set aside on that ground only if the photographic

  identification procedure was so impermissibly suggestive as to give rise to a very substantial

  likelihood of irreparable misidentification.” Id.; see also United States v. Saunders, 501 F.3d

  384, 389 (4th Cir. 2007) (stating that “[d]ue process principles prohibit the admission at trial of

  an out-of-court identification obtained through procedures ‘so impermissibly suggestive as to

  give rise to a very substantial likelihood of irreparable misidentification.’”).

         The Supreme Court outlined a two-step analysis regarding the admissibility of

  identification testimony: first, the Court considers whether the initial identification was

  impermissibly suggestive, and second, even if the identification procedure was suggestive, a

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  subsequent in-court identification may still be considered valid if it is deemed reliable. See

  United States v. Wilkerson, 84 F.3d 692, 695 (4th Cir. 1996) (citing Manson v. Brathwaite, 432

  U.S. 98, 110, 97 S.Ct. 2243 (1977); Neil v. Biggers, 409 U.S. 188, 198-99, 93 S.Ct. 375 (1972);

  Simmons v. United States, 390 U.S. 377, 384, 88 S.Ct. 967 (1968); Willis v. Garrison, 624 F.2d

  491, 493 (4th Cir. 1980)). When determining the reliability of a subsequent in-court

  identification, the court considers the totality of the circumstances. See Manson v. Brathwaite,

  432 U.S. at 114; see also Holdren v. Legursky, 16 F.3d 57 (4th Cir. 1997). The Supreme Court

  provided five factors for courts to consider when determining the reliability of an identification:

  (1) the witness' opportunity to view the perpetrator at the time of the crime; (2) the witness'

  degree of attention at the time of the offense; (3) the accuracy of the witness' prior description of

  the perpetrator; (4) the witness' level of certainty when identifying the defendant as the

  perpetrator at the time of the confrontation; and (5) the length of time between the crime and the

  confrontation. See Wilkerson, 84 F.3d at 695 (citing Neil v. Biggers, 409 U.S. 188, 199-200).

         Under the first prong of the Supreme Court test, the use of a single photograph for

  identification has been found to be impermissibly suggestive. However, the Court still looks to

  the totality of the circumstances to determine if the identification may be sufficiently reliable. In

  United States v. Johnson, the Fourth Circuit found the use of a single photograph for

  identification to be unduly suggestive, but found the subsequent in-court identification to be

  sufficiently reliable based on the Neil v. Biggers factors. 114 F.3d 435, 441-42 (4th Cir. 1997).

  The Johnson court pointed out that “[t]he Supreme Court has consistently questioned the use of a

  single photograph for pretrial identification, and has encouraged the use of a reasonable

  photographic display.” Johnson, 114 F.3d at 441-42 (citing Brathwaite, 432 U.S. at 116-17

  (stating that the use of a single photograph for identification “may be viewed in general with



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  suspicion,” but holding the identification to be reliable.)). Similarly, in Simmons, the Supreme

  Court stated that the risk of misidentification increases when “police display to the witness only

  the picture of a single individual who generally resembles the person he saw, or if they show him

  the pictures of several persons among which the photograph of a single such individual recurs or

  is in some way emphasized.” Simmons, 390 U.S. at 383. Additionally, “[o]ther circuit courts of

  appeal have held that the display of a single photograph is unduly suggestive, but have

  nonetheless held that under the second part of the identification test, the totality of the

  circumstances, the identification was sufficiently reliable to preclude the substantial likelihood of

  misidentification.” Johnson, 114 F.3d at 441-42 (citing United States v. Washington, 12 F.3d

  1128, 1134 (D.C. Cir. 1994); United States v. Sanchez, 988 F.2d 1384, 1389–91 (5th Cir. 1993);

  Ruff v. Wyrick, 709 F.2d 1219, 1220 (8th Cir. 1983)).

         In the present case, police investigators presented a single photograph of Defendant to

  CI-Pony. (Exhibit 1, ECF No. 195-1). The presentation of a single photograph, particularly with

  Defendant’s name printed directly above the photograph, falls short of proper procedures for

  pretrial photographic identification. Based on the evidence presented, there did not appear to be

  an emergency that prevented officers from presenting a proper array of photographs of numerous

  individuals in order to obtain a fair and objective identification. See Brathwaite, 432 U.S. at 108.

  Therefore, the use of a single photograph of the alleged participant for the purposes of

  identification is unduly suggestive.

         However, under the totality of the circumstances in this case, Defendant fails to

  demonstrate “a very substantial likelihood of irreparable misidentification.” Simmons, 390 U.S.

  at 384. When applying the five Neil v. Biggers reliability factors to this case, I find that:




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         1. Opportunity to View. CI-Pony had ample time to view Defendant during the

             controlled purchase. Sgt. Zollinger testified that CI-Pony first met Defendant outside

             a residence and then accompanied him inside. Additionally, CI-Pony had known

             Defendant for several months prior to the controlled purchase on January 18, 2011.

         2. Degree of Attention. CI-Pony did not view Defendant as a stranger or as a passerby.

             CI-Pony had been working as a confident informant for months and engaged in the

             controlled purchase knowing he was meant to identify the individuals involved in the

             transaction.

         3. Accuracy of Prior Description. Sgt. Zollinger testified that CI-Pony provided to

             investigating officers a description of the individual involved in the controlled

             purchase on January 18 that matched Defendant’s physical description.

         4. Witness’ Level of Certainty. Based on Sgt. Zollinger’s testimony, CI-Pony positively

             identified Defendant as the individual in the photograph he was shown. He

             confirmed that this was the individual he referred to as “Bradley,” who was the

             individual from which he made the controlled purchase on January 18.

         5. Time between the Crime and Identification. Sgt. Zollinger testified that the

             identification was made a few days after the controlled purchase, but before the

             January 20, 2011 controlled purchase. This indicates the identification was made

             within two (2) days of the controlled purchase on January 18.

         These factors weigh in favor of the reliability of CI-Pony’s identification. CI-Pony knew

  Defendant prior to the controlled purchase, met with Defendant both outdoors and inside a

  residence during the January 18 controlled purchase, provided a description of the individual

  from which he made the controlled purchase that matched Defendant’s description, and made a



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   positive identification of Defendant just days after the controlled purchase. Although the use of

   the single photograph to identify Defendant is suspect, the totality of the circumstances

   demonstrate the reliability of CI-Pony’s subsequent identification of Defendant.

                                    IV. RECOMMENDATION

          I recommend that Defendant’s Motion to Suppress a Suggestive Photographic

   Identification (ECF No. 136) be DENIED because even though the use of the single photograph

   for the purposes of identification was impermissibly suggestive, the totality of the circumstances

   weigh in favor of the reliability of CI-Pony’s identification of Defendant.

          Any party may, before October 16, 2013 at 5:00pm EST, file with the Clerk of the Court

   written objections identifying the portions of the Report and Recommendation to which

   objection is made, and the basis for such objection. A copy of such objections should also be

   submitted to the District Court Judge of Record. Failure to timely file objections to the Order set

   forth above will result in a waiver of the right to appeal from a judgment of this Court based

   upon such Order.

          The Clerk of the Court is directed to transmit a copy of this Order to parties who appear

   pro se and any counsel of record, as applicable.

          IT IS SO ORDERED.


   DATED: October 15, 2013



                                                         /s/ James E. Seibert
                                                         JAMES E. SEIBERT
                                                         UNITED STATES MAGISTRATE JUDGE




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